        Case 2:19-cv-00754-MPK Document 33 Filed 09/16/19 Page 1 of 6



                          UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF PENNSYLVANIA

CAMBRIDGE RETIREMENT SYSTEM, on                       Case No. 2:19-cv-00754-MPK
behalf of itself and all others similarly situated,
                                                      CLASS ACTION
                       Plaintiff,

               v.

EQT CORPORATION, STEVEN T.
SCHLOTTERBECK, ROBERT J. MCNALLY,
DAVID L. PORGES, JIMMI SUE SMITH,
JAMES E. ROHR, VICKY A. BAILEY, PHILIP
G. BEHRMAN, KENNETH M. BURKE, A.
BRAY CARY, JR., MARGARET K. DORMAN,
STEPHEN A. THORINGTON, LEE T. TODD,
JR., CHRISTINE J. TORETTI, DANIEL J. RICE
IV, and ROBERT F. VAGT,

                       Defendants.


MEMORANDUM OF LAW IN FURTHER SUPPORT OF THE UNOPPOSED MOTION
  OF GOVERNMENT OF GUAM RETIREMENT FUND AND THE NORTHEAST
CARPENTERS ANNUITY FUND AND NORTHEAST CARPENTERS PENSION FUND
    FOR APPOINTMENT AS LEAD PLAINTIFF AND APPROVAL OF THEIR
                  SELECTION OF LEAD COUNSEL
            Case 2:19-cv-00754-MPK Document 33 Filed 09/16/19 Page 2 of 6



          Guam and Northeast Carpenters respectfully submit this memorandum of law in further

support of their unopposed motion for appointment as Lead Plaintiff and approval of their selection

of counsel in the above-captioned action. ECF No. 22.1

          Guam and Northeast Carpenters are the presumptive Lead Plaintiff in this action. Their

motion is unopposed and, with losses of approximately $2,173,893, Guam and Northeast

Carpenters have the “largest financial interest” in the outcome of the litigation. 15 U.S.C. § 78u-

4(a)(3)(B)(iii)(I)(bb).2 Guam and Northeast Carpenters also satisfy the typicality and adequacy

requirements of Rule 23 and are ideally suited to represent the Class. As institutional investors

that have a prior history and success in serving as Lead Plaintiff under the PSLRA, Guam and

Northeast Carpenters fully understand the Lead Plaintiff’s obligations to the Class and have the

experience, resources, and commitment to vigorously prosecute this action. See ECF No. 24-3

¶¶2-13.

          Because Guam and Northeast Carpenters have the largest financial interest in the litigation

and have made a prima facie showing of their typicality and adequacy, and their motion is

unopposed, they are entitled to appointment as Lead Plaintiff. Under the PSLRA, the presumption

entitling Guam and Northeast Carpenters appointment as Lead Plaintiff can only be rebutted “upon



1
  All capitalized terms are defined in Guam and the Northeast Carpenters’ opening brief, unless
otherwise indicated. See ECF No. 23. All emphasis is added and citations omitted unless noted.
2
  The four competing movants either withdrew their motions, stated that they do not oppose Guam
and Northeast Carpenters’ appointment, or acknowledged they lacked the largest financial interest.
Specifically, the Iron Workers Local 580 Joint Funds (asserting the second largest loss of
$854,585) and Joseph F. Bonetto, Jr. (asserting the fifth largest loss of $245,847) withdrew their
motions (ECF Nos. 27, 26), while the Michigan Retirement Systems (asserting the third largest
loss of $689,860) stated they do not oppose Guam and Northeast Carpenters’ appointment (ECF
No. 30) and the Teamsters Local 710 Pension Fund (“Teamsters”) (asserting the fourth largest loss
of $464,001) acknowledged it lacks the largest financial interest (ECF No. 32). The Court
subsequently denied the competing motions as moot (ECF Nos. 28, 29, 31) except for the motion
of Teamsters, which filed its submission on September 16, 2019 (ECF No. 32).


                                                   1
          Case 2:19-cv-00754-MPK Document 33 Filed 09/16/19 Page 3 of 6



proof” that Guam and Northeast Carpenters are inadequate or atypical. 15 U.S.C. § 78u-

4(a)(3)(B)(iii)(II).   Here, no competing movant opposes Guam and Northeast Carpenters’

appointment, as there are no grounds to challenge their qualifications to represent the Class.

        Indeed, Guam and Northeast Carpenters are exactly the kind of Lead Plaintiff Congress

envisioned when enacting the PSLRA. See H.R. Conf. Rep. No. 104-369, at *34 (1995), reprinted

in 1995 U.S.C.C.A.N. 730, 733 (1995) (“The Conference Committee believes that increasing the

role of institutional investors in class actions will ultimately benefit shareholders and assist courts

by improving the quality of representation in securities class actions.”).

        As set forth in their Joint Declaration, Guam and Northeast Carpenters are sophisticated

institutional investors that have experience prosecuting securities class actions as Lead Plaintiff

and are committed to achieving the best possible result for the Class here. See ECF No. 24-3 ¶¶2-

5, 7-10. Prior to seeking appointment as Lead Plaintiff, representatives of Guam and Northeast

Carpenters participated in a conference call to discuss, among other things, litigation strategy, their

commitment to overseeing Lead Counsel and this litigation, and their common goals in ensuring

that the Class achieves the best possible result and that this action is litigated efficiently and

zealously. See id. ¶¶6, 9-10. Such a showing is more than sufficient to satisfy the adequacy

requirement here. See, e.g., W. Palm Beach Police Pension Fund v. DFC Glob. Corp., No. 13-cv-

6731, 2014 WL 1395059, at *7 (E.D. Pa. Apr. 10, 2014) (appointing institutional investor group

that submitted joint declaration documenting their commitment to “take full responsibility for

providing fair and adequate representation and overseeing counsel”).

        For these reasons, Guam and Northeast Carpenters respectfully request that the Court

appoint them as Lead Plaintiff, approve their selection of Bernstein Litowitz and Cohen Milstein

as Lead Counsel for the Class, and grant such other relief as the Court may deem just and proper.




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        Case 2:19-cv-00754-MPK Document 33 Filed 09/16/19 Page 4 of 6



Dated: September 16, 2019                 WEISS BURKARDT KRAMER LLC

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                                          Class


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                                      3
Case 2:19-cv-00754-MPK Document 33 Filed 09/16/19 Page 5 of 6



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                              4
         Case 2:19-cv-00754-MPK Document 33 Filed 09/16/19 Page 6 of 6



                                CERTIFICATE OF SERVICE

       I, M. Janet Burkardt, hereby certify that on September 16, 2019, I caused a true and correct

copy of the foregoing to be filed electronically with the Clerk of the Court using the CM/ECF

system. Notice of this filing will be sent to counsel of record by operation of the Court’s CM/ECF

automated filing system.


                                                     /s/ M. Janet Burkardt
                                                     M. Janet Burkardt, Esquire
                                                     PA. I.D. #85582




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